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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

     In re:
                                                               Chapter 11
     BOY SCOUTS OF AMERICA AND
     DELAWARE BSA, LLC,1                                       Case No. 20-10343 (LSS)

                          Debtors.                             (Jointly Administered)

                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                 HEARING ON APRIL 19, 2023, AT 10:00 A.M. EASTERN TIME

       This hearing will be conducted in-person. Any exceptions must be approved by
    Chambers. Parties may observe the hearing remotely by registering with the Zoom link
               below no later than April 19, 2023, at 8:00 a.m. Eastern Time.

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.

                      Please use the following link to register for this hearing:

     https://debuscourts.zoomgov.com/meeting/register/vJIsfuqprDspHXdbRPTd0fYN_1ebjiD6sJ0

        After registering your appearance by Zoom, you will receive a confirmation email
                        containing information about joining the hearing.

                                     Topic: Boy Scouts of America

               Time: April 19, 2023, at 10:00 a.m. Eastern Time (US and Canada)


ADJOURNED MATTER:

1.        Motion (I) to Allow Substantial Contribution Claim of the Roman Catholic Ad Hoc
          Committee and (II) for Waiver of Certain Requirements of Local Rule 2016-2 (D.I. 10815,
          filed 12/29/22).

          Objection Deadline: January 12, 2023, at 4:00 p.m. (ET); extended to January 31, 2023,
          for the Lujan Claimants and the Office of the United States Trustee.

          Responses Received:

          a)      Lujan Claimants’ Limited Objection and Joinder in U.S. Trustee’s Objection to
                  Motion (I) to Allow Substantial Contribution Claim of the Roman Catholic Ad Hoc

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      The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
      The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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            Committee and (II) for Waiver of Certain Requirements of Local Rule 2016-2, and
            Reservation of Rights (D.I. 10942, filed 01/31/23); and

     b)     United States Trustee’s Omnibus Objection to Payment of Compensation and
            Reimbursement of Expenses for Movants filed December 29, 2022 (D.I. 10944,
            filed 01/31/23).

     Related Pleadings:    None.

     Status: The parties have agreed to adjourn this matter to the omnibus hearing scheduled for
     May 24, 2023.

MATTER UNDER CERTIFICATION:

2.   Debtors’ Sixth Omnibus (Substantive) Objection to Certain (I) Misclassified Claim,
     Reduce and Allow Claim and (II) Reduce and Allow Claim (Non-Abuse Claims)
     (D.I. 10783, filed 12/20/22).

     Objection Deadline: January 10, 2023, at 4:00 p.m. (ET).

     Responses Received: None.

     Related Pleadings:

     a)     Notice of Submission of Copies of Proofs of Claim Regarding Debtors’ Sixth
            Omnibus (Substantive) Objection to Certain (I) Misclassified Claim, Reduce and
            Allow Claim and (II) Reduce and Allow Claim (Non-Abuse Claims) and Debtors’
            Seventh Omnibus (Non-Substantive) Objection to Certain Amended and
            Superseded Claims (Non-Abuse Claims) (D.I. 10839, filed 01/05/23);

     b)     Order Sustaining Debtors’ Sixth Omnibus (Substantive) Objection to Certain
            (I) Misclassified Claim, Reduce and Allow Claim and (II) Reduce and Allow Claim
            (Non-Abuse Claims) (D.I. 10883, filed 01/18/23); and

     c)     Certification of Counsel Regarding Debtors’ Sixth Omnibus (Substantive)
            Objection to Certain (I) Misclassified Claim, Reduce and Allow Claim and
            (II) Reduce and Allow Claim (Non-Abuse Claims) (D.I. 11112, filed 04/14/23).

     Status: An order was entered with respect to Claim No. 342-1073. No hearing on this claim
             is necessary. With respect to Claim No. 343-38, the Debtors filed a Certification
             of Counsel and proposed order reflecting the consensual resolution of the claim
             objection between the Debtors and FedEx. Accordingly, no hearing on this matter
             is necessary unless the Court has questions.




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MATTERS GOING FORWARD:

3.   Motion of The Coalition of Abused Scouts for Justice for Entry of an Order Approving the
     Debtors’ Proposed Payment of The Coalition Restructuring Expenses (D.I. 10808, filed
     12/29/22).

     Objection Deadline: January 12, 2023, at 4:00 p.m. (ET); extended to January 31, 2023,
     for the Lujan Claimants and the Office of the United States Trustee.

     Responses Received:

     a)     Response of The Official Committee of Tort Claimants to the Motions by the
            Coalition and Pfau/Zalkin for Payment of Restructuring Expenses (D.I. 10861, filed
            01/12/23);

     b)     Lujan Claimants’ Limited Objection and Joinder in U.S. Trustee’s Objection to
            Motion of The Coalition of Abused Scouts for Justice for Entry of an Order
            Approving the Debtors’ Proposed Payment of The Coalition Restructuring
            Expenses, and Reservation of Rights (D.I. 10941, filed 01/31/23); and

     c)     United States Trustee’s Omnibus Objection to Payment of Compensation and
            Reimbursement of Expenses for Movants filed December 29, 2022 (D.I. 10944,
            filed 01/31/23).

     Related Pleadings:

     a)     Amended Notice of Motion of The Coalition of Abused Scouts for Justice for Entry
            of an Order Approving the Debtors’ Proposed Payment of The Coalition
            Restructuring Expenses (D.I. 10816, filed 12/30/22);

     b)     Notice of Corrected Exhibit C-4 to Motion of The Coalition of Abused Scouts for
            Justice for Entry of an Order Approving the Debtors’ Proposed Payment of The
            Coalition Restructuring Expenses (D.I. 10911, filed 01/24/23);

     c)     Re-Notice of Motion of The Coalition of Abused Scouts for Justice for Entry of an
            Order Approving the Debtors’ Proposed Payment of The Coalition Restructuring
            Expenses (D.I. 10982, filed 02/15/23);

     d)     Certification of Counsel Regarding the Motion of The Coalition of Abused Scouts
            for Justice for Entry of an Order Approving the Debtors’ Proposed Payment of The
            Coalition Restructuring Expenses (D.I. 11092, filed 04/10/23);

     e)     Omnibus Reply in Support of Motion of The Coalition of Abused Scouts for Justice
            for Entry of an Order Approving the Debtors’ Proposed Payment of The Coalition
            Restructuring Expenses (D.I. 11107, filed 04/14/23); and




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     f)     United States Trustee’s Omnibus Response Regarding Consensual Resolution of
            Objection to Payment of Compensation and Reimbursement of Expenses for
            Movants filed December 29, 2022 (D.I. 11111, filed 04/14/23).

     Status: This matter is going forward.

4.   Motion of Pfau Cochran Vertetis Amala PLLC and The Zalkin Law Firm, P.C. for an Order
     Pursuant to Bankruptcy Code Section 363(b), 1129(a)(4), and 503(b) Allowing Payment
     or Reimbursement of the Pfau/Zalkin Restructuring Expenses by the Settlement Trust
     (D.I. 10809, filed 12/29/22).

     Objection Deadline: January 12, 2023, at 4:00 p.m. (ET); extended to January 31, 2023,
     for the Lujan Claimants and the Office of the United States Trustee.

     Responses Received:

     a)     Response of The Official Committee of Tort Claimants to the Motions by the
            Coalition and Pfau/Zalkin for Payment of Restructuring Expenses (D.I. 10861, filed
            01/12/23);

     b)     United States Trustee’s Omnibus Objection to Payment of Compensation and
            Reimbursement of Expenses for Movants filed December 29, 2022 (D.I. 10944,
            filed 01/31/23); and

     c)     Declaration of Richard M. Pachulski in Connection with the Motion of Pfau
            Cochran Vertetis Amala PLLC and The Zalkin Law Firm, P.C. for an Order
            Pursuant to Bankruptcy Code Section 363(b), 1129(a)(4), and 503(b) Allowing
            Payment or Reimbursement of the Pfau/Zalkin Restructuring Expenses by the
            Settlement Trust (D.I. 11091, filed 04/10/23).

     Related Pleadings:

     a)     Certification of Counsel Regarding the Motion of Pfau Cochran Vertetis Amala
            PLLC and The Zalkin Law Firm, P.C. for an Order Pursuant to Bankruptcy Code
            Section 363(b), 1129(a)(4), and 503(b) Allowing Payment or Reimbursement of
            the Pfau/Zalkin Restructuring Expenses by the Settlement Trust (D.I. 11093, filed
            04/11/23);

     b)     Reply of Pfau Cochrain Vertetis Amala PLLC and The Zalkin Law Firm, P.C. in
            Support of Motion for an Order Pursuant to Bankruptcy Code Section 363(b),
            1129(a)(4), and 503(b) Allowing Payment or Reimbursement of the Pfau/Zalkin
            Restructuring Expenses by the Settlement Trust (D.I. 11108, filed 04/14/23); and

     c)     United States Trustee’s Omnibus Response Regarding Consensual Resolution of
            Objection to Payment of Compensation and Reimbursement of Expenses for
            Movants filed December 29, 2022 (D.I. 11111, filed 04/14/23).

     Status: This matter is going forward.

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5.   Joint Motion of the Debtors, Official Committee of Tort Claimants, Future Claimants’
     Representative, and Coalition of Abused Scouts for Justice, Pursuant to 11 U.S.C.
     §§ 105(A) and 363(B), for Entry of an Order (I) Authorizing the Debtors to Advance
     Funding to Facilitate the Establishment of the Settlement Trust, (II) Authorizing the PSZJ
     Firm to Advance Funding Under the PSZJ Contribution to Facilitate the Establishment of
     the Settlement Trust, (III) Authorizing the Future Settlement Trustee and Claims
     Administrators to Begin Preparatory Work, and (IV) Granting Related Relief (D.I. 11010,
     filed 02/28/23).

     Objection Deadline: March 14, 2023, at 4:00 p.m. (ET).

     Responses Received:

     a)     Certain Insurers’ Objection to Motion for Entry of an Order Authorizing
            Advancement of Funding and Preparatory Work (D.I. 11030, filed 03/14/23);

     b)     Dumas & Vaughn Claimants’ Objection to Motion to Authorize Advancement of
            Funding and Preparatory Work (D.I. 11032, filed 03/14/23); and

     c)     Lujan Claimants’ Objection to Joint Motion of the Debtors, Official Committee of
            Tort Claimants, Future Claimants’ Representative, and Coalition of Abused Scouts
            for Justice, Pursuant to 11 U.S.C. §§ 105(A) and 363(B), for Entry of an Order
            (I) Authorizing the Debtors to Advance Funding to Facilitate the Establishment of
            the Settlement Trust, (II) Authorizing the PSZJ Firm to Advance Funding Under
            the PSZJ Contribution to Facilitate the Establishment of the Settlement Trust,
            (III) Authorizing the Future Settlement Trustee and Claims Administrators to Begin
            Preparatory Work, and (IV) Granting Related Relief; Joinder in Objection of D&V
            Claimants (D.I. 11033, filed 03/14/23).

     Related Pleadings:

     a)     Omnibus Reply of Official Committee of Tort Claimants, Future Claimants’
            Representative, and Coalition of Abused Scouts for Justice in Support of Joint
            Motion of the Debtors, Official Committee of Tort Claimants, Future Claimants’
            Representative, and Coalition of Abused Scouts for Justice, Pursuant to 11 U.S.C.
            §§ 105(A) and 363(B), for Entry of an Order (I) Authorizing the Debtors to
            Advance Funding to Facilitate the Establishment of the Settlement Trust,
            (II) Authorizing the PSZJ Firm to Advance Funding Under the PSZJ Contribution
            to Facilitate the Establishment of the Settlement Trust, (III) Authorizing the Future
            Settlement Trustee and Claims Administrators to Begin Preparatory Work, and
            (IV) Granting Related Relief (D.I. 11109, filed 04/14/23); and

     b)     Debtors’ Statement Regarding Joint Motion of the Debtors, Official Committee of
            Tort Claimants, Future Claimants’ Representative, and Coalition of Abused Scouts
            for Justice, Pursuant to 11 U.S.C. §§ 105(a) and 363(b), for Entry of an Order
            (I) Authorizing the Debtors to Advance Funding to Facilitate the Establishment of
            the Settlement Trust, (II) Authorizing the PSZJ Firm to Advance Funding Under
            the PSZJ Contribution to Facilitate the Establishment of the Settlement Trust,
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       (III) Authorizing the Future Settlement Trustee and Claims Administrators to Begin
       Preparatory Work, and (IV) Granting Related Relief (D.I. 11110, filed 04/14/23).

Status: The Debtors are movants, but are not proceeding at this hearing with respect to this
matter for the reason set forth in the Debtors’ statement dated April 14, 2023 [D.I. 1110].
However, the TCC, FCR and Coalition intend to go forward with respect to this matter.



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